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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ANTHONY JAKES,

                         Plaintiff,                  Case No. 19-cv-02204

                 v.                                  Hon. Manish S. Shah

KENNETH BOUDREAU et al.,                             Hon. Sheila M. Finnegan

                         Defendants.


                                JOINT INITIAL STATUS REPORT

        Pursuant to this Court’s June 10, 2019 order (ECF No. 24), plaintiff Anthony Jakes

(“Plaintiff”) and defendants City of Chicago, Kenneth Boudreau, Louis Caesar, Michael Delacy,

Ken Burke, and Fred Bonke, by and through counsel, hereby submit the following Joint Initial

Status Report:

   1.   The Nature of the Case

        a. Attorneys of record for each party, including the lead trial attorney.

        For Plaintiff: Jon Loevy (lead trial attorney), Arthur Loevy, Russell Ainsworth, Heather

Lewis Donnell, and Alison R. Leff, Loevy & Loevy, 311 North Aberdeen Street, 3rd floor,

Chicago, Illinois 60607.

        For Defendant City of Chicago: Jeffrey N. Given (lead trial attorney), James G. Sotos

(lead trial attorney), Sara J. Schroeder, Joseph M. Polick, and George J. Yamin, Jr., The Sotos

Law Firm, P.C., 141 West Jackson Boulevard, Suite 1240A, Chicago, Illinois 60604.

        For Defendants Bonke, Burke, Boudreau, and Caesar: Eileen E. Rosen (lead trial

attorney), Patrick R. Moran, Andrew J. Grill, and Brittany D. Johnson, Rock Fusco & Connelly,

LLC, 321 North Clark Street, Suite 2200, Chicago, Illinois 60654.
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       b. Basis for federal jurisdiction.

       This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

1343(a) because Plaintiff brings this action under 42 U.S.C. § 1983. The Court may exercise

supplemental jurisdiction over Plaintiff’s Illinois law claims under 28 U.S.C. § 1367(a).

       c. Describe the nature of the claims asserted in the complaint and any
          counterclaims, including relief sought.

       This is a civil rights lawsuit arising from Plaintiff’s wrongful conviction at age 15 for a

1991 murder he did not commit. As alleged in the complaint, Defendants arrested and

interrogated Plaintiff for over 16 hours without an adult, attorney, or family member present.

After Defendants subjected him to prolonged physical and emotional abuse, Plaintiff ultimately

agreed to sign a false confession stating that he served as a lookout while another person

committed the murder. That false confession led to Plaintiff’s conviction. He served his entire

sentence—20 years—in prison before he was exonerated following his release on parole.

Plaintiff seeks compensatory and punitive damages, as well as attorneys’ fees and costs pursuant

to 42 U.S.C. § 1988b.

       Defendants have not asserted any counterclaims.

   2. Mandatory Initial Discovery (Pilot Program)

       The parties hereby acknowledge familiarity with the Mandatory Initial Discovery

Standing Order. The parties’ mandatory initial discovery responses are due September 4, 2019.

There are currently no disputes regarding the mandatory initial discovery responses.

   3. Pending Motions and Case Plan

       a.      Pending motions.

       On July 2, 2019, Plaintiff filed his Motion to Appoint Special Representative for

Defendant Estate of Michael Kill. (ECF No. 35.) Defendant City of Chicago filed its response in


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opposition to the motion on July 24, 2019. (ECF No. 38.) Plaintiff’s reply brief is due July 30,

2019.

        There are no other pending motions.

        b.        Proposed Discovery Plan

             i.   General type of discovery needed.

        Plaintiff anticipates discovery of documents and electronically stored information,

including the City of Chicago’s and Defendants’ records and communications regarding the

Garcia murder investigation, Plaintiff’s arrest and prosecution, and the City’s policies and

practices. Plaintiff also plans to depose defendants and third-party witnesses. Plaintiff anticipates

the need for expert discovery as well.

        The parties agree that both sides will need more than the10 depositions permitted by the

Federal Rules and will work together to meet and confer regarding the proposed number of

depositions. Furthermore, the City intends to move to bifurcate and stay discovery and trial of

Plaintiff’s Monell claims.

         ii.      Proposed dates.

  Event                             Plaintiff’s Proposed Date      Defendants’ Proposed Date
  Exchange of mandatory initial     September 4, 2019              September 4, 2019
  disclosures
  Deadline to issue initial written December 4, 2019               December 4, 2019
  discovery requests
  Fact discovery completion         June 30, 2020                  June 30, 2020
  Plaintiff’s expert report due     July 28, 2020                  July 28, 2020
  Deadline to depose Plaintiff’s    NA                             August 27, 2020
  expert
  Defendants’ expert report due     August 25, 2020                September 28, 2020
  Deadline to depose                NA                             October 28, 2020
  Defendants’ expert
  Plaintiff’s rebuttal expert report September 29, 2020            November 27, 2020
  due


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 Event                             Plaintiff’s Proposed Date        Defendants’ Proposed Date
 Deadline to complete expert       October 13, 2020                 December 28, 2020
 discovery
 Deadline to file dispositive       December 1, 2020                February 14, 2021
 motions


       c.     Whether a jury trial is requested and the probable length of trial.

       The parties request a jury trial and expect the trial to last 10 to 14 days, though trial could

last as long as 3-4 weeks depending on which claims are tried against which Defendants.

   4. Consent to Proceed Before A Magistrate Judge

       The parties do not consent unanimously to proceed before a Magistrate Judge.

   5. Status of Settlement Discussions

       No settlement discussions have occurred, and the parties do not request a settlement

conference.

Dated: July 26, 2019                  Respectfully Submitted,


ANTHONY JAKES                                     CITY OF CHICAGO

By: s/ Alison R. Leff________                         By: s/ Jeffrey N. Given________
        One of His Attorneys                                  One of Its Attorneys

Arthur Loevy                                          James G. Sotos
Jon Loevy                                             Jeffrey N. Given
Russell Ainsworth                                     Sara J. Schroeder
Heather Lewis Donnell                                 Joseph M. Polick
Alison R. Leff                                        George J. Yamin, Jr.
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KENNETH BOUDREAU, LOUIS CAESAR,
MICHAEL DELACY, KEN BURKE, and
FRED BONKE

By: s/ Andrew J. Grill________
        One of Their Attorneys

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2019, I caused the foregoing document to be

electronically filed, which will send a Notice of Electronic Filing to all counsel of record.


                                                              s/ Alison R. Leff




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